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United States District Court

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NORTHERN DISTRICT OF __{| _ TEXAS
UNITED STATES OF AMERICA | 3 rere {
V. COMPLAINT oo
MARK D. WHITFIELD (1) CASE NUMBER: 3-14-MJ- 30: BH

MICHAEL DEMON JACKSON (2)

I, the undersigned complainant being duly sworn state the following is true and correct
to the best of my knowledge and belief. On or about October 18, 2013, in the Dallas Division
of the Northern District of Texas, defendant(s) did,

knowingly, intentionally, and unlawfully combine, conspire, confederate, and agree
together to commit robbery, in violation of 18 U.S.C. § 1951, a crime of violence,

in violation of Title 18, United States Code, Section(s) 371 , and

knowingly use, carry and brandish a firearm during and in relation to a crime of
violence,

in violation of Title 18, United States Code, Section(s) 924(c) ;

I further state that I am a(n) Special Agent with Federal Bureau of Investigation (FBI)

and that this complaint is based on the following facts:

See attached Affidavit of Special Agent Rodrigo R. Gonzalez III, (FBI) which is
incorporated and made a part hereof by reference.

Continued on the attached sheet and made a part hereof: XX Yes No

Signature of Complainant
RODRIGO R. GONZALEZ III
Special Agent, (FBI)

Sworn to before me and subscribed in my presence, on this =¢/_ day of May, 2014, at Dallas,
Texas.

IRMA C. RAMIREZ Lon
UNITED STATES MAGISTRATE JUDGE

Name & Title of Judicial Officer “ Signature of Judicial

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AFFIDAVIT IN SUPPORT OF
APPLICATION FOR SEARCH AND ARREST WARRANTS

I, Rodrigo R. Gonzalez III, being duly sworn, depose and state as follows:

1 I am an “investigative or law enforcement officer of the United States”
within the meaning of 18 U.S.C. § 2510(7), that is, Iam an officer of the United States
who is authorized by law to conduct investigations of, and make arrests for, offenses
enumerated in 18 U.S.C. § 2516.

2. I am a Special Agent with the Federal Bureau of Investigation (FBI), and
have been so employed for 12 years. During my years as a Special Agent, I have
conducted numerous investigations and used investigative techniques, such as electronic
and physical surveillance, Title III wire intercepts, pen registers, undercover operations,
undercover recordings, interviews of witnesses and defendants, the execution of search
warrants, and the use of confidential informants related to said investigations.

3. This Application (and Affidavit in Support) seeks a warrant authorizing the
search of a residence located at 2531 Gregory Street, Mesquite, Texas, (Target
Residence 1), a red 2010 Mitsubishi Gallant automobile bearing Texas license plate
number “CF1C775” (Target Vehicle), and the premises located at 2710 Mitchell Street,
Dallas, Texas, (Target Residence 2) all three particularly described in Attachment A for
the items sought in Attachment B, and seeks arrest warrants, via criminal complaint, for
Mark Duayne Whitfield and Michael Demon Jackson for the crimes discussed herein.

4, The facts in this affidavit come from my personal observations, my training

and experience, and information obtained from other agents/officers and witnesses.

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Because this affidavit is being submitted for the limited purpose of securing a warrant, I
have not included every fact known to me concerning this investigation. I have only set
forth those facts that I believe establish probable cause to believe that evidence of
conspiracy to interfere with commerce by threats or violence (18 U.S.C. §1951) in
violation of 18 U.S.C. § 371 (conspiracy to commit this offense), and
using/carrying/brandishing a firearm during the commission of this crime of violence, in
violation of 18 U.S.C. § 924(c), is presently located at the Target Residence 1 and 2 and
in the Target Vehicle.

BACKGROUND OF INVESTIGATION - PROBABLE CAUSE

October 18, 2013 — Marquise Jewelers at 13331 Preston Road, Dallas, Texas

5. On October 18, 2013, the Marquise Jewelers store located at 13331 Preston
Road, Dallas, Texas, which is in the Northern District of Texas, was robbed at gun point.
Witnesses stated two black men entered the Marquise Jewelers and one asked to see a
bridal ring. While the store clerk was showing one of the men the rings, the second man
walked around the counter and placed a silver semi-automatic pistol to the clerk’s head
and pushed the clerk to the floor. The second man then said, “Don’t move, don’t scream,
I'll kill you.” The men stole several rings that were on display and left together. The
Marquise Jewelry store conducts business in interstate commerce, and the armed robbery
obstructed, delayed or affected commerce and the movement of any article and
commodity in commerce, as contemplated by 18 U.S.C. § 1951. The Marquise Jewelers

suffered a monetary loss of $123,650 dollars as a direct result of this armed robbery.

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6. During this armed robbery, the two robbers did not conceal their identities

by wearing disguises or masks, consequently, the armed robbers’ faces were recorded by

the in-store video surveillance system. The following images of the armed men were

Further, a review of the surveillance footage shows that the gun used on the store clerk
was a silver-colored pistol.

February 4, 2014 — Marquise Jewelers at 13331 Preston Road, Dallas, Texas

Ts On February 4, 2014, the same Marquise Jewelers store located at 13331
Preston Road, Dallas, Texas, was robbed again at gun point by two men who bear the
same physical description as the two men who robbed the Marquise Jewelers store on

October 18, 2014. Witnesses stated two black men entered the store, and, just as before,

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one of the men, armed with a pistol, forced the victim store employee to the floor and
jewelry in display cases was taken at gunpoint. This time however, the store clerk
suffered injuries to her face as a result of the robbery. The armed robbery was captured

and recorded by the in-store video surveillance system.

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February 24, 2014 — Classic Jewelers at 2401 S. I-35E, Lewisville, Texas (Vista Ridge
Mall)

8. On February 24, 2014, the Classic Jewelers inside the Vista Ridge shopping
mall, located at 2401 S. I-35E, Lewisville, Texas, was robbed at gunpoint by the same
two black males, who robbed Marquise Jewelers in October 2013 and February 2014.
Witnesses reported that the two black males entered the store and that one of them asked
to see a bridal ring set. When the employee opened the drawer to show the first man the

rings, the second man walked around the counter, forced the employee to the ground,

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placed a pistol to the back of the employee’s head, and held her down. The men stole
jewelry from the display case. The victim store employee described the first suspect as a
black male, 30-35 years of age, thin build, 5 ft. tall. The second suspect was described as
a black male, 30-35 years of age, 220 lIbs., 6 ft. tall. Although witnesses could not
provide a vehicle make or model of the get-away vehicle, the suspects were observed
fleeing the mall parking-lot area in a red car. The Classic Jeweler’s store conducts
business in interstate commerce, and the armed robbery obstructed, delayed or affected
commerce and the movement of any article and commodity in commerce, as
contemplated by 18 U.S.C. § 1951. As a direct result of the robbery, the Classic Jewelers
suffered a loss of approximately $197,437, based on the retail value of the stolen jewelry.

April 29, 2014 — Gianni’s Jewelers at 2401 S. I-35E, Lewisville, Texas (Vista Ridge
Mall)

9, On April 29, 2014, the Gianni’s Jewelers store located inside the Vista

Ridge Mall, Lewisville, Texas, located at 2401 S. I-35E, Lewisville, Texas, was robbed at
gunpoint by the same two black men who robbed Marquise Jewelers and Classic
Jewelers. During the robbery, a black man entered the jewelry store and asked to look at
diamond rings. While the store clerk began to show this man the rings, a second black
man suspect walked up to the counter and attempted to open the counter door. When the
door failed to open, the man crawled underneath the door. The man, who was armed
with a gun, hit the clerk, forcing the clerk to the floor. Both men then stole gold rings
from the display case and left the store together. The Gianni’s Jewelry store conducts

business in interstate commerce, and the armed robbery obstructed, delayed or affected

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commerce and the movement of any article and commodity in commerce, as
contemplated by 18 U.S.C. § 1951.

10. During the Gianni’s Jewelers’ armed robbery, the two robbers did not
conceal their identities by wearing disguises or masks. Below is a digital surveillance

image of the two suspects entering the mall on April 29, 2014, just prior to the Gianni’s

Jewelers’ armed robbery:

1l. <A “shots frediantive shooter” call was broadcast to police officers, who
then responded (it was later determined no shots were actually fired). Upon arriving at
the mall, police officers were advised that the armed men had fled the area in a small red
car, possibly a Mitsubishi Galant. A witness took a digital photograph of the suspect
vehicle as it was fleeing the parking lot. A review of the image indicates that the red
suspect vehicle missing a passenger side mirror. The following is a digital image of the

get-away vehicle captured by a witness on April 29, 2014, after the robbery. This vehicle

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was involved in a hit-and-run with another vehicle while fleeing the scene.

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Identification of Mark Dwayne Whitfield and Michael Demon Jackson

12. After the Gianni’s Jewelers robbery, a search of Dallas Police Department
(DPD) records was conducted using the get-away vehicle’s description, specifically, a
2010 Mitsubishi Galant. A review of several entries resulted in the identification of DPD
report/ citation #C2 150336103, involving a 2010 Mitsubishi Galant matching the get-
away vehicle’s description. In the citation report, a red 2010 Mitsubishi Galant, Texas
license plate number “CF1C775” was stopped on February 15, 2014, due to a traffic
violation. The driver of the vehicle at the time of the traffic stop was listed as Mark
Dwayne Whitfield (BM/DOB 01/17/1979 (age 34)), with an address at 2531 Gregory
Drive, Mesquite, Texas. The passenger of the vehicle was listed as Michael Demon
Jackson, (BM/DOB 07/4/1977 (age 32)). A vehicle registration query identified the
registered owner of the vehicle as Jessica Gallegos- Whitfield at 2531 Gregory Drive,
Mesquite, Texas. | believe that Whitfield and Gallegos are married as I located a Texas
marriage filing for Mark D. Whitfield and Jessica M. Gallegos. The filing number is

092506, and the marriage date is listed as May 8, 2008.

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13. On May 16, 2014, the Lewisville Police Department re-interviewed the
victim employee of the Gianni’s Jewelers store. The victim employee was shown a photo
line-up that included a photo of Whitfield. The victim employee positively identified
Mark Dwayne Whitfield as one of the two men who robbed the store on April 29, 2014.
On May 21, 2014, the Lewisville Police Department re-interviewed the victim employee
of the Classics Jeweler’s store. The victim employee was shown a photo line-up that
included a photo of Jackson. The victim employee positively identified Michael Demon
Jackson as one of the two men who robbed the store on February 24, 2014.

14. | Based on a DPD incident report #60150-B, dated March 13, 2014, Michael
Demon Jackson was arrested on a state charge of unlawful possession of a firearm by a
felon. According to the report, Jackson was the front-seat passenger in an automobile
stopped by DPD for a traffic violation. After the driver of the vehicle was arrested on an
unrelated outstanding warrant, the vehicle was impounded and inventoried because
Jackson did not have a valid driver’s license, and, therefore, the vehicle could not be
released to him. During the on-scene inventory, officers located a silver Smith & Wesson
9mm pistol under the front passenger seat where Jackson had been sitting. The pistol was
loaded with seven rounds of 9 mm ammunition in the magazine. The serial number of
the pistol was filed off and obliterated beyond recognition. Upon his arrest, Jackson
indicated his current address was 2710 Mitchell Street, Dallas, Texas (Target Residence
2). On March 14, 2014, Jackson was released on bond. This pistol is similar to the pistol

used to rob Marquise Jewelers in October 2013.

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15. Acheck ofa law enforcement pawn shop database revealed that on April
13, 2014, Jessica Maria Gallegos, with an address at 2531 Gregory Street, Mesquite,
Texas, Texas State Identification card number 23145191, and DOB 6/20/1980, pawned

the following items:

LADIES 14K (karat) WG RING W/ 31-.03PT ROUND DIAMONDS, 6-03PT
BAGUETTES

LADIES 14K WG RING W/ 72-.02PT ROUND DIAMONDS, 16-.03PT
PRINCESS CUT DIAMONDS

14K YG ROPE BRACELET, 10K YG LINK BRACELET

LADIES 10K YG BANK W/ 13-.05PT PRINCESS CUT DIAMONDS
The above transaction was conducted at B & B Pawn #4, located at 2222 S. Buckner
Boulevard, Dallas, Texas. The ticket number for the transaction was 184710.
Surveillance

16. On May 15, 2014, I observed the Target Vehicle at Target Residence 1.
The vehicle was parked in the driveway of the residence. I observed that the vehicle’s
passenger side mirror was missing. I also saw Whitfield leave Target Residence 1 and
get into and drive the Target Vehicle. Whitfield was followed and observed in the area
of S. Fitzhugh Avenue and Robert B. Cullum Boulevard, Dallas, Texas. At the location a
unidentified black male was observed getting into the passenger side of the Target
Vehicle. The Target Vehicle was followed into central Dallas where surveillance was
terminated.

17. On May 19, 2014, a DPD surveillance team conducted surveillance at 2710
Mitchell Street, Dallas, Texas, (Target Residence 2), the listed address for Jackson.

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During the surveillance Jackson was observed leaving Target Residence 2. Target
Residence 2 is in the vicinity of S. Fitzhugh Avenue and Robert B. Cullum Boulevard,

the same area where Whitfield had been driving on May 15, 2014.

AUTHORIZATION REQUEST

18. Based on the foregoing, I believe that there is probable cause to believe that
Mark Dwayne Whitfield and Michael Demon Jackson are the two men who conspired to
rob, and did rob, the four jewelry stores between October 18, 2013, and April 29, 2014, in
violation of 18 U.S.C. § 371. Therefore, the affiant requests the Court issue arrests
warrants for Whitfield and Jackson for this offense. I also believe the red Mitsubishi
Galant Texas license plate “CF1C775” was used during the commitment of the robberies.
I also believe that there is probable cause to believe that evidence of the robberies
including but not limited items listed in ATTACHMENT B will be found in the
residences of Whitfield (Target Residence 1) and Jackson (Target Residence 2), as well
as in the red Mitsubishi Galant Texas license plate “CF1C775” (Target Vehicle).
Therefore, the affiant requests the Court issue the proposed search warrant, pursuant to
Federal Rule of Criminal Procedure 41. Also, I know that that coconspirators to crimes
such as these utilize cellular telephones to communicate and plan their crimes.

19. In conclusion, I have probable cause to believe that Mark Dwayne
Whitfield and Michael Demon Jackson are responsible for the armed robbery of the
Marquise Jewelers store on October 18, 2013 and again on February 4, 2014, the Classic
Jewelers store on February 24, 2014, and the Gianni’s Jewelers store armed robbery on

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April 29, 2014. This is due to the similar conduct of the robbers in all four robberies
were committed. Additionally the vehicle that was observed leaving the scene of the
Gianni’s Jewelers store robbery was identified as belonging to Jessica Whitfield the
spouse of Mark D. Whitfield. The physical descriptions observed in the video
surveillance and as provided by witness is similar to the physical descriptions of Mark
Dwayne Whitfield and Michael Demon Jackson. Also, separate victim-employees have
identified Whitfield and Jackson as one of their robbers. Lastly, Jessica Whitfield the
spouse of Mark Dwayne Whitfield is known to have pawned some jewelry during the
time of the robberies. Based on the above information the affiant believed there will be
evidence of the crimes detailed above within the residences of Mark Dwayne Whitfield
and Michael Demon Jackson as well as the red Mitsubishi Galant Texas license plate
“CF1C755”. Based on my experience I know individuals keep loot stolen if the loot has
not been otherwise disposed of. I also know individuals that use weapons during crimes
will keep the weapons they have used and will hide them within a residence they occupy
or another location they have access to such as a vehicle. I know that individuals that
commit crimes will often keep clothing worn during the crimes and that the clothing is
often kept in a residence they occupy.

20.The affiant further requests that the Court order that all papers in support of this
application, including the affidavit and search warrant, be sealed until further order of the
Court. These documents discuss an on-going criminal investigation that is neither public

nor known to all of the targets of the investigation. Accordingly, there is good cause to

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seal these documents because their premature disclosure may seriously jeopardize the
investigation.

Respectfully submitted,

a KBPS

Rodrigo R. Gonzalez Ill
Special Agent
Federal Bureau of Investigation

Subscribed and sworn to before me on this eel day of May 2014

Bit Kit Ce

IRMA C. RAMIREZ
UNITED STATES MAGISTRATE un
NORTHERN DISTRICT OF TEXAS

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